       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Donald Rosson
       v. Erie Insurance Exchange
       Record No. 1283-22-2
       Opinion rendered by Judge Athey on
        December 19, 2023

    2. Dana Mark Camann, Jr.
       v. Commonwealth of Virginia
       Record No. 0243-22-4
       En banc opinion rendered by Judge Raphael on
        January 16, 2024

    3. Sh’Kise Fazion Cappe
       v. Commonwealth of Virginia
       Record No. 1161-22-1
       Opinion rendered by Judge Friedman on
        January 16, 2024

    4. Taylor Amil Wallace
       v. Commonwealth of Virginia
       Record No. 1040-21-1
       En banc opinion rendered by Judge Ortiz on
        January 23, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:


1. CB &amp; PB Enterprises, LLC, etc., et al.
   v. Bryant McCants
   Record No. 0046-22-2
   Opinion rendered by Judge O’Brien
     on January 17, 2023
   Judgment of Court of Appeals reversed and final judgment entered
      reinstating jury verdict by opinion rendered on February 15, 2024
   (230115)

2. Justin Andrew Harvey
    v. Commonwealth of Virginia
   Record No. 0723-21-2
    Opinion rendered by Chief Judge Decker
      on January 24, 2023
    Refused (230193)

3. Clifton Haley Harvey, Jr.
   v. Commonwealth of Virginia
   Record No. 0453-22-4
   Opinion rendered by Judge Humphreys
     on April 11, 2023
   Refused (230328)

4. Tiziano M. Scarabelli, M.D.
   v. Kenneth Ellenbogen, M.D., et al.
   Record No. 0421-22-2
   Opinion rendered by Judge Ortiz
     on May 2, 2023
    Refused (230580)

5. Eleanor A. Hunter, etc.
   v. Charles M. Hunter, Jr.
   Record No. 0555-22-1
   Opinion rendered by Judge Raphael
     on May 2, 2023
   Refused (230382)

6. Colton Allen King
   v. Commonwealth of Virginia
   Record No. 0397-22-1
   Opinion rendered by Judge Friedman
     on June 6, 2023
   Refused (230467)
7. Timothy Miles, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0288-22-2
   Opinion rendered by Senior Judge Haley
     on July 25, 2023
    Refused (230661)

8. Tadashi D. Guest
   v. Commonwealth of Virginia
   Record No. 0672-22-2
   Opinion rendered by Judge Ortiz
     on August 8, 2023
    Refused (230633)

9. Virginia Alcoholic Beverage Control Authority
   v. Zero Links Market, Inc., t/a Vinoshipper.com
   Record No. 0973-22-2
   Opinion rendered by Judge Raphael
     on August 15, 2023
   Dismissed pursuant to Rule 5:14(a) (230657)
      The Supreme Court issued opinions in the following cases, which had been appealed from
   this Court:

1. Dwayne Lamont Sample, Jr.
   v. Commonwealth of Virginia
   Record No. 0161-21-1
   Memorandum opinion rendered by Judge Beales on June 28, 2022
   Judgment of Court of Appeals affirmed by opinion rendered
      on February 8, 2024
   (220445)

2. Joseph Eugene Smith
    v. Commonwealth of Virginia
    Record No. 0680-21-2
    Memorandum opinion rendered by Judge Athey on May 17, 2022
    Judgment of Court of Appeals affirmed in part and reversed and final judgment in part
     by opinion rendered on February 29, 2024
    (220382)
